Case 3:08-cr-30071-DRH-PMF      Document 47     Filed 01/22/09   Page 1 of 2   Page ID
                                       #81



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JULIE K. GREER,
 JUSTIN L. BUCKNER,
 JORGE TORRES,
 BRITTANY FOWLER,                                          No.08-30071-DRH

 Defendant.

                                      ORDER


 HERNDON, Chief Judge:

       Before the Court is Defendant Julie K. Greer’s third motion for continuance

 of trial (Doc. 46). Defendant argues that she is in current negotiations with the

 Government regarding a possible plea and needs additional time to allow for a

 negotiated disposition of the case. In addition, the Court finds that pursuant to 18

 U.S.C. § 3161(h)(8)(A), the ends of justice served by granting of such a continuance

 outweigh the interests of the public and Defendant Greer in a speedy trial because

 failure to grant a continuance would unreasonably interfere with the current plea

 negotiations, which if successful would serve all parties’ interest in a just and

 efficient outcome. Therefore, the Court GRANTS Defendant Greer’s motion to

 continue (Doc. 46) and CONTINUES the trial scheduled for February 2, 2009 until

 March 23, 2009 at 9:00 a.m. This continuance of trial applies to all non-moving

 defendants as well.    United States v. Baker, 40 F.3d 154, 159 (7th Cir.
Case 3:08-cr-30071-DRH-PMF      Document 47     Filed 01/22/09   Page 2 of 2   Page ID
                                       #82



 1994)(“‘Under § 3161(h)(7), the excludable delay of one defendant may be

 ascribed to all codefendants in the same case, absent severance.’”)(quoting

 United States v. Tanner, 941 F.2d 574, 580 (7th Cir.1991), cert. denied, 502

 U.S. 1102, 112 S. Ct. 1190 (1992)). The time from the date Defendant Greer’s

 motion was filed, January 21, 2009, until the date on which the trial is rescheduled,

 March 23, 2009, is excludable time for the purposes of a speedy trial.

       Should either party believe that a witness will be required to travel on the

 Justice Prisoner and Alien Transportation System (JPAT) in order to testify at the

 trial of this case, a writ should be requested at least two months in advance.

              IT IS SO ORDERED.

              Signed this 22nd day of January, 2009.

                                              /s/     DavidRHer|do|
                                              Chief Judge
                                              United States District Court




                                      Page 2 of 2
